Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Knight Resources, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2727 Southeast Evangeline Thruway
                                  Lafayette, LA 70508-2205
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lafayette                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    17-51280 - #1 File 09/29/17 Enter 09/29/17 10:45:12 Main Document Pg 1 of 38
Debtor    Knight Resources, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Knight Energy Holdings, LLC                                     Relationship            Member
                                                             Western District of
                                                             Louisiana - Lafayette
                                                  District   Division                      When       8/08/17                Case number, if known   17-51014



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Knight Resources, LLC                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    17-51280 - #1 File 09/29/17 Enter 09/29/17 10:45:12 Main Document Pg 3 of 38
Debtor    Knight Resources, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 29, 2017
                                                  MM / DD / YYYY


                             X   /s/ Kelley Knight Sobiesk                                                Kelley Knight Sobiesk
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Tom St. Germain                                                       Date September 29, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tom St. Germain
                                 Printed name

                                 Weinstein & St. Germain
                                 Firm name

                                 1414 NE Evangeline Thruway
                                 Lafayette, LA 70501
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (337) 235-4001                Email address


                                 24887
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 29, 2017                      X /s/ Kelley Knight Sobiesk
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kelley Knight Sobiesk
                                                                       Printed name

                                                                       Authorized Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Knight Resources, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           947,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,252,312.48

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,199,312.48


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     203,671,800.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       38,111,515.34


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        241,783,315.44




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Iberiabank operating                                    checking                        3927                                    $42,158.48




           3.2.     Iberiabank sweep                                        checking                        7264                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $42,158.48
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Knight Resources, LLC                                                             Case number (If known)
                Name


           11b. Over 90 days old:                               954,669.00   -                          954,669.00 =....                             $0.00
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                     $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture, equipment, artwork located at
           24 Waterway, Suite 1460, The Woodlands, TX                                   $130,154.00                                         $130,154.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $130,154.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Knight Resources, LLC                                                         Case number (If known)
                Name


               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Interests in various
                     oil and gas wells and
                     royalty interests                                            $16,957,044.00                                         $947,000.00




 56.        Total of Part 9.                                                                                                           $947,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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 Debtor         Knight Resources, LLC                                                        Case number (If known)
                Name

           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Cash held by RLI Insurance Company for operator and
           performance bonds                                                                                           $2,080,000.00
           Nature of claim
           Amount requested                                          $2,080,000.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                          $2,080,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
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 Debtor          Knight Resources, LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $42,158.48

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $130,154.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $947,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,080,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,252,312.48            + 91b.              $947,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,199,312.48




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Fill in this information to identify the case:

 Debtor name          Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Cantor Fitzgerald
 2.1                                                  Describe debtor's property that is subject to a lien            $203,671,800.10              $2,210,154.00
        Securities
        Creditor's Name                               Cash held by RLI Insurance Company for
        Attn: Bobbie Young                            operator and performance bonds; office
        900 West Trade Street,                        Furniture, equipment, artwork located at 24
        Suite 725                                     Waterway, Suite 1460, The Woodlands, TX
        Charlotte, NC 28202
        Creditor's mailing address                    Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $203,671,800
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  .10

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $159,051.27
           24 Waterway, LLC                                                     Contingent
           24 Waterway Avenue                                                   Unliquidated
           Spring, TX 77380                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,092,672.94
           Apache Corporation                                                   Contingent
           2000 Post Oak Boulevard                                              Unliquidated
           Suite 100                                                            Disputed
           Houston, TX 77056
                                                                             Basis for the claim:    Money due
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $14.39
           Apache Shelf, Inc                                                    Contingent
           2000 Post Oak Boulevard                                              Unliquidated
           Suite 100                                                            Disputed
           Houston, TX 77056
                                                                             Basis for the claim:    Money due
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $607,500.00
           Apex Oil & Gas, Inc.                                                 Contingent
           20333 State Hwy 249                                                  Unliquidated
           Suite 200                                                            Disputed
           Houston, TX 77070
                                                                             Basis for the claim:    P&A Liability
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,817.92
          Brammer Engineering, Inc                                              Contingent
          113 Heymann Boulevard #7                                              Unliquidated
          Lafayette, LA 70503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $102,400.00
          Chevron USA, Inc.                                                     Contingent
          P.O. Box 730121                                                       Unliquidated
          Dallas, TX 75373-0121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    P&A Liability
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $109,197.36
          CL&F Resources, LP                                                    Contingent
          111 Veterans Memorial Boulevard                                       Unliquidated
          Suite 500
                                                                                Disputed
          Metairie, LA 70005-3099
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Clifford T. Crowe                                                     Contingent
          5822 Oakmoss Trail                                                    Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Consolidated Asset Managment                                          Contingent
          919 Milom Street                                                      Unliquidated
          Suite 2300                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Money due
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,728.16
          Contango Operators                                                    Contingent
          717 Texas Avenue #2900                                                Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Contango Operators, Inc.                                              Contingent
          717 Texas Ave                                                         Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $171,000.00
          Dynamic Offshore Resources                                            Contingent
          P.O. Box 203887                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    P&A Liability
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $109,071.19
          Energy Resource Technology                                            Contingent
          8201 Preston Road                                                     Unliquidated
          Suite 750                                                             Disputed
          Dallas, TX 75225
                                                                             Basis for the claim:    Money due
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $138,888.02
          Expert Oil & Gas, LLC                                                 Contingent
          101 Ashland Way                                                       Unliquidated
          Covington, LA 70433                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $599,000.00
          Expert Oil & Gas, LLC                                                 Contingent
          101 Ashland Way                                                       Unliquidated
          Madisonville, LA 70447                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    P&A Liability
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $374,650.14
          Fieldwood Energy, LLC                                                 Contingent
          2014 West Pinhook Road                                                Unliquidated
          #800                                                                  Disputed
          Lafayette, LA 70508
                                                                             Basis for the claim:    Money due
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,270,811.99
          Freeport-McMoran Oil & Gas, LLC                                       Contingent
          700 Milam Street                                                      Unliquidated
          Suite 3100                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Money due / P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $193,381.85
          GCER Onshore, LLC                                                     Contingent
          500 Dallas Street                                                     Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $607,500.00
          Hall-Houston Oil Company                                              Contingent
          700 Louisiana Avenue                                                  Unliquidated
          Suite 2100                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $5,756,026.12
          Helis Oil & Gas Company                                               Contingent
          228 St. Charles Avenue                                                Unliquidated
          Suite 912                                                             Disputed
          New Orleans, LA 70130
                                                                             Basis for the claim:    Money due / P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $152,585.87
          Hilcorp Energy Company                                                Contingent
          99 Von Ness Drive                                                     Unliquidated
          Westwego, LA 70094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due / P&A Liability
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $570,828.01
          Houston Energy, LP                                                    Contingent
          1200 Smith Road #2400                                                 Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,219.20
          Iron Mountain                                                         Contingent
          Post Office Box 915004                                                Unliquidated
          Dallas, TX 75391-5004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,000.00
          James A. Bibby                                                        Contingent
          2031 Greenway Village Drive                                           Unliquidated
          Katy, TX 77494                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $14,458,696.00
          Knight Energy Holdings, LLc.                                          Contingent
          2727 SE Evangeline Thruway                                            Unliquidated
          Lafayette, LA 70508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104.00
          NRAI, Inc                                                             Contingent
          3867 Plaza Tower Drive                                                Unliquidated
          Baton Rouge, LA 70816                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,555.72
          Peregrine Oil & Gas II, LLC                                           Contingent
          3 Riverway #1750                                                      Unliquidated
          Houston, TX 77056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,011,093.33
          Pergerine Oil & Gas II, LP                                            Contingent
          Three River Way #1750                                                 Unliquidated
          Houston, TX 77056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due / P&A Liability
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $5,601,411.47
          Petroquest Energy, LLC                                                Contingent
          400 E. Kalsite Saloom Road                                            Unliquidated
          Suite 6000                                                            Disputed
          Lafayette, LA 70508
                                                                             Basis for the claim:    Money due / P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,635.29
          Pyramid Tubular Products, LP                                          Contingent
          2 Northpoint Drive                                                    Unliquidated
          Houston, TX 77060                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $113.00
          Reddog Systems, Inc                                                   Contingent
          1100 639 5 Avenue SW                                                  Unliquidated
          Calgary, AB T2P OM9, Canada                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $995.50
          Shoreline Southeast                                                   Contingent
          16801 Greenspoint Drive #380                                          Unliquidated
          Houston, TX 77060                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Strat Energy & Consulting, Inc.                                       Contingent
          22 Country Club Park                                                  Unliquidated
          Covington, LA 70433-4402                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $256,000.00
          Talos Energy, LLC                                                     Contingent
          500 Dallas Street                                                     Unliquidated
          Suite 2000                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,459.90
          Tammy J. Mcrae Tax Assessoc, Co                                       Contingent
          400 North San Jacinto Street                                          Unliquidated
          Conroe, TX 77301                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,345.85
          Turbeco, Inc                                                          Contingent
          dba Spidle Turbeco                                                    Unliquidated
          9525 Pole Road                                                        Disputed
          Oklahoma City, OK 73160
                                                                             Basis for the claim:    Money due
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,840,574.04
          W&T Offshore, Inc                                                     Contingent
          1100 Poydras Street                                                   Unliquidated
          #1100                                                                 Disputed
          New Orleans, LA 70163
                                                                             Basis for the claim:    Money due / P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $409.62
          White Oak Operating Co., LLC                                          Contingent
          16945 Northchase Drive                                                Unliquidated
          1700                                                                  Disputed
          Houston, TX 77060
                                                                             Basis for the claim:    Money due
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,000.00
          Whitney Oil & Gas, LLC                                                Contingent
          400 Poydras Street                                                    Unliquidated
          Suite 1440                                                            Disputed
          New Orleans, LA 70130
                                                                             Basis for the claim:    P&A Liability
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 7
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 Debtor       Knight Resources, LLC                                                                   Case number (if known)
              Name

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $490.46
           Woodlands Metro Center Mud                                           Contingent
           2445 Lake Robbins Drive                                              Unliquidated
           Spring, TX 77380-1025                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Money due
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $1,414,286.73
           Yuma Exploration & Production                                        Contingent
           1177 West Loop S                                                     Unliquidated
           Suite 1825                                                           Disputed
           Houston, TX 77027
                                                                             Basis for the claim:    Money due / P&A Liability
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   38,111,515.34

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      38,111,515.34




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Knight Energy                     2727 SE Evangline Thwy                            Helis Oil & Gas                    D
             Holdings, LLC                     Lafayette, LA 70508                               Company                            E/F       3.20
                                                                                                                                    G




    2.2      Knight Energy                     2727 SE Evangline Thwy                            Apex Oil & Gas, Inc.               D
             Holdings, LLC                     Lafayette, LA 70508                                                                  E/F       3.4
                                                                                                                                    G




    2.3      Knight Energy                     2727 SE Evangline Thwy                            Chevron USA, Inc.                  D
             Holdings, LLC                     Lafayette, LA 70508                                                                  E/F       3.6
                                                                                                                                    G




    2.4      Knight Energy                     2727 SE Evangline Thwy                            Hall-Houston Oil                   D
             Holdings, LLC                     Lafayette, LA 70508                               Company                            E/F       3.19
                                                                                                                                    G




    2.5      Knight Energy                     2727 SE Evangeline Thwy                           Cantor Fitzgerald                  D   2.1
             Holdings, LLC                     Lafayette, LA 70508                               Securities                         E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       Knight Resources, LLC                                                     Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Knight Oil Tools,                 2727 SE Evangeline Thwy                       Apache Corporation             D
             LLC                               Lafayette, LA 70508                                                          E/F       3.2
                                                                                                                            G




Official Form 206H                                                       Schedule H: Your Codebtors                                   Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Knight Resources, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,762,141.00
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $4,790,202.90
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    asst sales, interest


       For year before that:                                                                       Operating a business                           $10,630,621.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Knight Resources, LLC                                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Consolidated Asset Management                               7/5/17                           $10,000.00                Secured debt
               Systems                                                                                                                Unsecured loan repayments
               919 Milam Street                                                                                                       Suppliers or vendors
               Suite 2300
                                                                                                                                      Services
               Houston, TX 77002
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Knight Energy Holdings, LLC                                 9/30/16 -                     $2,146,862.24           Repayments of money loaned
               2727 SE Evangeline Thwy                                     7/5/17
               Lafayette, LA 70508
               Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions



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 Debtor        Knight Resources, LLC                                                                        Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Weinstein & St. Germain, LLC
                1414 NE Evangeline Thrwy.                                                                                      September
                Lafayette, LA 70501                                                                                            28, 2017          $10,000.00

                Email or website address


                Who made the payment, if not debtor?
                Knight Energy Holdings, LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer    Total amount or
               Address                                           payments received or debts paid in exchange                was made                  value

 Part 7:       Previous Locations

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 Debtor        Knight Resources, LLC                                                                    Case number (if known)



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     24 Waterway                                                                                               2011 - 2017
                 Suite 1460
                 Spring, TX 77380

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Do you still
                                                                     access to it                                                                 have it?
                                                                     Address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
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 Debtor      Knight Resources, LLC                                                                      Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


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 Debtor      Knight Resources, LLC                                                                      Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kathleen David                                                                                                             10/30/13 - present
                    2727 SE Evangeline Thwy
                    Lafayette, LA 70508
       26a.2.       Consolidated Asset Management Services                                                                                     2014 - present
                    919 Milam Street
                    Suite 2300
                    Houston, TX 77002

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Knight Resources, LLC
                    2727 SE Evangeline Thwy
                    Lafayette, LA 70508

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Knight Energy Holdings,                        2727 SE Evangeline Thwy                             Member                                        100%
       LLC                                            Lafayette, LA 70508



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Knight Resources, LLC                                                                      Case number (if known)




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Knight Energy Holdings, LLC
       .    2727 SE Evangeline Thwy                                                                                      9/30/16 -         Repayment of
               Lafayette, LA 70508                               $2,146,862.24                                           7/5/17            money loaned

               Relationship to debtor
               Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Knight Energy Holdings, LLC                                                                                EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 29, 2017

 /s/ Kelley Knight Sobiesk                                              Kelley Knight Sobiesk
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Representative

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re       Knight Resources, LLC                                                                            Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 29, 2017                                                          /s/ Tom St. Germain
     Date                                                                        Tom St. Germain 24887
                                                                                 Signature of Attorney
                                                                                 Weinstein & St. Germain
                                                                                 1414 NE Evangeline Thruway
                                                                                 Lafayette, LA 70501
                                                                                 (337) 235-4001 Fax: (337) 235-4020
                                                                                 Name of law firm




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     24 Waterway, LLC
     24 Waterway Avenue
     Spring, TX 77380



     Apache Corporation
     2000 Post Oak Boulevard
     Suite 100
     Houston, TX 77056



     Apache Shelf, Inc
     2000 Post Oak Boulevard
     Suite 100
     Houston, TX 77056



     Apex Oil & Gas, Inc.
     20333 State Hwy 249
     Suite 200
     Houston, TX 77070



     Brammer Engineering, Inc
     113 Heymann Boulevard #7
     Lafayette, LA 70503



     Cantor Fitzgerald Securities
     Attn: Bobbie Young
     900 West Trade Street, Suite 725
     Charlotte, NC 28202



     Chevron USA, Inc.
     P.O. Box 730121
     Dallas, TX 75373-0121



     CL&F Resources, LP
     111 Veterans Memorial Boulevard
     Suite 500
     Metairie, LA 70005-3099




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 Clifford T. Crowe
 5822 Oakmoss Trail
 Spring, TX 77379



 Consolidated Asset Managment
 919 Milom Street
 Suite 2300
 Houston, TX 77002



 Contango Operators
 717 Texas Avenue #2900
 Houston, TX 77002



 Contango Operators, Inc.
 717 Texas Ave
 Suite 2900
 Houston, TX 77002



 Dynamic Offshore Resources
 P.O. Box 203887
 Dallas, TX 75320



 Energy Resource Technology
 8201 Preston Road
 Suite 750
 Dallas, TX 75225



 Expert Oil & Gas, LLC
 101 Ashland Way
 Covington, LA 70433



 Expert Oil & Gas, LLC
 101 Ashland Way
 Madisonville, LA 70447



 Fieldwood Energy, LLC
 2014 West Pinhook Road
 #800
 Lafayette, LA 70508


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 Freeport-McMoran Oil & Gas, LLC
 700 Milam Street
 Suite 3100
 Houston, TX 77002



 GCER Onshore, LLC
 500 Dallas Street
 Houston, TX 77002



 Hall-Houston Oil Company
 700 Louisiana Avenue
 Suite 2100
 Houston, TX 77002



 Helis Oil & Gas Company
 228 St. Charles Avenue
 Suite 912
 New Orleans, LA 70130



 Hilcorp Energy Company
 99 Von Ness Drive
 Westwego, LA 70094



 Houston Energy, LP
 1200 Smith Road #2400
 Houston, TX 77002



 Iron Mountain
 Post Office Box 915004
 Dallas, TX 75391-5004



 James A. Bibby
 2031 Greenway Village Drive
 Katy, TX 77494



 Knight Energy Holdings, LLC
 2727 SE Evangline Thwy
 Lafayette, LA 70508



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 Knight Energy Holdings, LLC
 2727 SE Evangeline Thwy
 Lafayette, LA 70508



 Knight Energy Holdings, LLc.
 2727 SE Evangeline Thruway
 Lafayette, LA 70508



 Knight Oil Tools, LLC
 2727 SE Evangeline Thwy
 Lafayette, LA 70508



 Lafayette Sheriff
 Post Office Drawer 92590
 Lafayette, LA 70509



 NRAI, Inc
 3867 Plaza Tower Drive
 Baton Rouge, LA 70816



 Peregrine Oil & Gas II, LLC
 3 Riverway #1750
 Houston, TX 77056



 Pergerine Oil & Gas II, LP
 Three River Way #1750
 Houston, TX 77056



 Petroquest Energy, LLC
 400 E. Kalsite Saloom Road
 Suite 6000
 Lafayette, LA 70508



 Pyramid Tubular Products, LP
 2 Northpoint Drive
 Houston, TX 77060




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 Reddog Systems, Inc
 1100 639 5 Avenue SW
 Calgary, AB T2P OM9, Canada



 Shoreline Southeast
 16801 Greenspoint Drive #380
 Houston, TX 77060



 Strat Energy & Consulting, Inc.
 22 Country Club Park
 Covington, LA 70433-4402



 Talos Energy, LLC
 500 Dallas Street
 Suite 2000
 Houston, TX 77002



 Tammy J. Mcrae Tax Assessoc, Co
 400 North San Jacinto Street
 Conroe, TX 77301



 Turbeco, Inc
 dba Spidle Turbeco
 9525 Pole Road
 Oklahoma City, OK 73160



 W&T Offshore, Inc
 1100 Poydras Street
 #1100
 New Orleans, LA 70163



 White Oak Operating Co., LLC
 16945 Northchase Drive
 1700
 Houston, TX 77060




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 Whitney Oil & Gas, LLC
 400 Poydras Street
 Suite 1440
 New Orleans, LA 70130



 Woodlands Metro Center Mud
 2445 Lake Robbins Drive
 Spring, TX 77380-1025



 Yuma Exploration & Production
 1177 West Loop S
 Suite 1825
 Houston, TX 77027




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Knight Resources, LLC                                                                         Case No.
                                                                                   Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       September 29, 2017                                         /s/ Kelley Knight Sobiesk
                                                                        Kelley Knight Sobiesk/Authorized Representative
                                                                        Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Knight Resources, LLC                                                                         Case No.
                                                                                  Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Knight Resources, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Knight Energy Holdings, LLC
 2727 SE Evangeline Thwy
 Lafayette, LA 70508




    None [Check if applicable]




 September 29, 2017                                                   /s/ Tom St. Germain
 Date                                                                 Tom St. Germain 24887
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Knight Resources, LLC
                                                                      Weinstein & St. Germain
                                                                      1414 NE Evangeline Thruway
                                                                      Lafayette, LA 70501
                                                                      (337) 235-4001 Fax:(337) 235-4020




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